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IN THE UNITED STATES DISTRICT COURT “' ` = \
FOR THE WESTERN DISTRICT OF TENNESSEEf;/; € " x
EASTERN DIVISION

IN THE MATTER OF THE COMPLAINT )
OF MAGNOLIA MARINE TRANSPORT )
COMPANY, AS OWNER AND
OPERATOR OF THE M/V DENNIS
ROSS, HER ENGINES, TACKLE, ETC.
FOR EXONERATION FROM OR
LIMITATION OF LIABILITY.

 

No. 1-04- 1206-T-An

 

ORDER DENYING CLAIMANTS’ RENEWED MOTION TO LIFT STAY

 

Claimants Mary Nell Day, individually and as the surviving spouse of Wayne Day,
deceased, Wayne Day, Jr., individually and as the surviving child of Wayne Day, Jimmy
Bratcher, and Virginia Bratoher brought suit in the Circuit Court of Benton County,
Tennessee, when Wayne Day and Jimmy Bratcher were involved in a boating accident with
Defendant, Magnolia Marine Transport Company, owner and operator ofthe M/V DENNIS
ROSS. On June 5, 2004, the MfV DENNIS ROSS collided with Day’s and Bratcher‘s
fishing boat at approximately mile 102 of the Tennessee River System near Camden,
Tennessee As a result of the accident, Day was killed and Bratcher sustained personal
injuries. Claimants allege that the negligence, gross negligence, and recklessness of
Magnolia Marine and Johnny Partaine, the captain of the M/V DENNIS ROSS, caused
Day’s and Bratcher’s injuries. Clairnants seek a total of $42,000,000.00 in damages

On August 27, 2004, Magnolia Marine filed a verified complaint in this court for

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with Rule 53 and,-‘or_'r§ (a) FRCP on @

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exoneration from or limitation of liability. Jurisdiction is proper under Rule F(9) of the
Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of
Civil Procedure. On August 30, 2004, this court entered an order restraining and enjoining
all claims and legal proceedings against Magnolia Marine pursuant to the Lirnitation of
Shipowner’s Liability Act (the “Act”), 46 U.S.C. § 181 et seq., and approving Magnolia
Marine’s stipulation that the value of the M/V DENNIS ROSS and its pending freight at the
time of the accident Was $l ,764,942.30, thus, limiting its liability to that amount Claimants’
subsequent answer denied that the stipulated value is in fact the value of the vessel and its
freight Claimants then filed a motion to lift the stay order, which was denied because the
stipulation failed to state the priority in which the four competing claims would be paid from
the limitation fund.

Before the court is Clairnants’ renewed motion and amended stipulation stating the
priority of the four competing claims. Magnolia Marine responded, arguing that the
amended stipulation was inadequate because Claimants did not comply with the procedural
requirements of the Federal Rule of Civil Procedure Supplemental Rule F. Specifically,
Magnolia Marine argues that Claimants’ amended stipulation is insufficient because it does
not concede that the value of the ship and its pending freight is $l,764,942.30. Rather,
Claimant “concedes that this Court has exclusive jurisdiction to deterrnine... the proper value
of the limitation fund (i.e., the value of the vessel (or vessels) plus the then pending freight)”
and that “this Court has the exclusive authority to determine the value of the vessel (M/V

DENNIS ROSS) and her then pending freight sought to be limited in these proceedings

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[and] to determine the value of any limitation fund which may be necessary for the
satisfaction of claims arising out of this incident against the vessel owner...” Claimants’
First Amended Stipulation at 1111 1, 3.

In support of its contention that the amended stipulation is inadequate, Magnolia
Marine cites to Complaint of Midland Enterprises, Inc., 886 F.2d 812, 817 (6th Cir. 1989).
In Midland Entemrises, the claimant stipulated “[t]hat this Court has full and exclusive
jurisdiction to determine the value of the M/V MIKE CREDITOR sought to be limited in
these proceedings or the value of any limitation fund which may be necessary for the
satisfaction of claims against its owners.” Ld. at 814. The district court found the stipulation
adequate and lifted the stay order. LJ. The defendant appealed, arguing that the claimant
must stipulate as to the value placed on the ship and its pending freight before the stay could
be lifted. l_cl_. at 814, 816. Although the Sixth Circuit affirmed the lifting of the stay and
found that the claimant need not stipulate as to the value of the ship and its pending freight,
§ at 817, it went on to clarify the procedure outlined in the Federal Rules of Civil
Procedure Supplemental Rule F for a claimant to contest a ship’s value:

Federal Rules of Civil Procedure Supplement F provides the detailed

procedure for the filing of complaints and responses in connection with

limitation of liability actions. The rule in F(7) provides a specific procedure

for a claimant to challenge the value placed on the ship and its freight by the

plaintiffs. The rule, in pertinent part, reads:

(7) Insufficiency of Fund or Security. Any claimant may by motion
demand that the funds deposited in court or security given by the
plaintiff be increased on the ground that they are less than the value of
the plaintiff s interest in the vessel and pending freight. Thereupon the
court shall cause due appraisement to be made of the value of the

plaintiffs interest in the vessel and pending freight; and if the court
finds that the deposit or security is either insufficient of excessive it

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shall order its increase or reduction.

Although the claimant here has filed an answer pursuant to F(S), denying the

value placed on the ship and its freight by the owner, the claimant has not

followed the procedures outlined in F(7) and filed the type of motion that

would compel the court to cause an “appraisement” to be made. We therefore

direct that claimant is ordered to either file an F(7) motion forthwith

challenging the value or concede the Value placed on the vessel and its freight

by Midland. lf either one of these procedures is followed, the state court

action may proceed. We want to make it clear, however, that if an F(7)

motion is filed, we are not requiring that the state court action be stayed

pending the resolution of the F(7) motion. Although we think it be of value

to both parties to know as soon as possible just what the monetary limit of

liability will be, we leave the scheduling details to the good judgment of the

district judge.
Complaint of Midland Enteg:grisesl lnc., 886 F.2d at 817-18. Thus, although the Sixth
Circuit affirmed the lifting of the stay where the stipulation failed to concede the value of
the ship and its pending freight, it ordered the claimant to either concede or contest the value
pursuant to Rule F(7) and left it to the discretion of the court to determine whether the state
action should be stayed in the interim.

In the present case, Claimants have not conceded the value ofthe ship and its pending
freight. ln contrast, as in Midland Ente;prises, they deny that Magnolia Marine’s
representation of the ship’s value is accurate. As such, this court orders Claimants to either
file a F(?) motion challenging the value or concede that the value is $1,764,942.30 as
claimed by Magnolia Marine. As stated in Midland Enterprises, it is in the discretion of the
court as to whether the action is stayed pending determination of the value of the ship. This
court agrees with the Sixth Circuit that it is in the best interest of both parties to know what

the monetary limit of liability Will be; therefore, this court DENIES Claimants’ motion to

lift the stay order until the ship’s value is determined

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IT IS SO ORDERED.

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JA S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case l:04-CV-01206 was distributed by fax, mail, or direct printing on
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Honorable J ames Todd
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